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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     WENDALL STEWART, et al,                         )
13
                                                     )
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                              )
                                                     )
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                                                     )
                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., counsel for defendant Valerie White, William E. Bonham, Esq., and counsel for
21
     defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
22
     for December 3, 2010 be continued to February 4, 2011, at 9:00 a.m., thus vacating the
23
     presently set status conference.
24
            Counsel for the parties agree that this is an appropriate exclusion of time within the
25
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
26
     time for effective preparation, specifically the continuance is requested to allow more time for
27
     defense preparation and possible negotiations for resolution) and Local Code T4, and agree to
28




                                                         1
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 1   exclude time from the date of the filing of the order until the date of the status conference,
 2   February 4, 2011.
 3   IT IS SO STIPULATED.
 4
     Dated: December 1, 2010                                        /s/ John R. Manning
 5                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
 6                                                                 Ricardo Venegas
 7
     Dated: December 1, 2010                                       /s/ Candace A. Fry
 8                                                                 CANDACE A. FRY
                                                                   Attorney for Defendant
 9                                                                 Wendell Stewart
10
     Dated: December 1, 2010                                       /s/ William E. Bonham
11                                                                 WILLIAM E. BONHAM
                                                                   Attorney for Defendant
12                                                                 Valerie White
13
     Dated: December 1, 2010                                        /s/ Edward C. Bell
14                                                                 EDWARD C. BELL
                                                                   Attorney for Defendant
15
                                                                   Isauro Jauregui Catalan
16

17   Dated: December 1, 2010                                       Benjamin B. Wagner
                                                                   United States Attorney
18

19                                                         by:     /s/ Jill M. Thomas
                                                                   JILL M. THOMAS
20                                                                 Assistant U.S. Attorney
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              Case 2:06-cr-00441-DAD Document 348 Filed 12/07/10 Page 3 of 4



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 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     WENDALL STEWART, et al.,                       )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
16
                                                    )
17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the December 3, 2010 status
     conference be continued to February 4, 2011 at 9:00 a.m. I find that the ends of justice warrant
19

20
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
21

22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and

23
     Local Code T4 from the date of this order to February 4, 2011.

24
     IT IS SO ORDERED.

25
     Date: 12/6/2010

26
                                                          _________________________
27                                                        GARLAND E. BURRELL, JR.
                                                          United States District Judge
28




                                                     3
                           Case 2:06-cr-00441-DAD Document 348 Filed 12/07/10 Page 4 of 4



 1   DEAC_Signature-END:




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